FOR THE wEsTERN DISTRICT 0F TENNEssB;E'(<~://‘

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IN THE UNITED sTATEs DISTRICT coURT 431 "°'/'/
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EASTERN DIVISION Czq

UNITED STATES OF AMERICA
vs Criminal No. l:OS-CR-lOOOB-Ol-T
GREGORY B. CLARK

ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT

 

Upon motion of counsel for defendant the trial date of
May 23, 2005, is continued to allow counsel for the defendant
additional time in which to prepare. The ends of justice served by
taking such action outweigh the best interest of the public and the
defendant in a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for
MONDAY, JULY 11, 2005 at 8:30 A.M. and reset TRIAL DATE for
MONDAY¢ JULY 18l 2005 at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of

May ZL 2005 to JHly 13,2905 as excludable delay under

Title 18 U.s.c.§3161(h) (8)(13)(iv} and(hj (8) (A).

IT IS SO ORDERED. J::;

MS D. TODD
ITED STATES DISTRICT JUDGE

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with Rule 55 andlor 32(b) FRCrP on

       
   

ISTRICT COURT - WESRNTE D"'TRCT oFTENNESSEE

 
    

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J on A. York

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Honorable J ames Todd
US DISTRICT COURT

